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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:21-CR-0104 TLN

12                                Plaintiff,            ORDER FOR ISSUANCE OF ARREST
                                                        WARRANT
13                         v.

14   CHARLES CARTER

15                               Defendant.

16                                                  ORDER
17          The Court, having reviewed the Indictment in this matter, and the request of the United States for

18 issuance of an arrest warrant and finding good cause therefor, hereby ORDERS that an arrest warrant

19 issue commanding any authorized law enforcement officer to arrest and bring before a United States

20 Magistrate Judge without unnecessary delay CHARLES CARTER, who is charged, by Indictment, with
21 violations of 21 U.S.C. §§ 846, 841(a)(1) – Conspiracy to Distribute and to Possess with Intent to

22 Distribute Cocaine and Cocaine Base; and 21 U.S.C. § 843(b) – Use of a Communication Facility to

23 Facilitate a Drug Trafficking Offense (2 Counts).

24

25               June 7, 2021
     Dated:
26                                                          Hon. Kendall J. Newman
                                                            U.S. MAGISTRATE JUDGE
27

28


      ORDER FOR ISSUANCE OF ARREST WARRANT              1
